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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        FOR THE DISTRICT OF UTAH


  TATUYOU, LLC, a Minnesota limited liability
  company,                                                REPLY IN SUPPORT OF EX PARTE
                                                          MOTION TO RECOGNIZE SERVICE
           Plaintiff,                                      OR TO GRANT ALTERNATIVE
                                                                     SERVICE
  v.

  SANIDERM MEDICAL, LLC, a Utah limited                              Case No.: 2:19-cv-00633
  liability company,
                                                                     Judge: Clark Waddoups
           Defendant.


        Plaintiff, Tatuyou, LLC (“Tatuyou” or “Plaintiff”) hereby replies to Defendant Saniderm

Medical, LLC’s (“Saniderm” or “Defendant”) Opposition to Ex Parte Motion Motion to Recognize Service or

Grant Alternative Service.

        Defendant suggests that it can unilaterally, at any time, avail itself of Rule 12(a)(1)(A)(ii) and

4(d) to obtain extra time for responding to a Complaint. This is not so. Rule 4(d) allows a defendant

to waive service (and thereby get a 60-day response period) upon request from the plaintiff. Fed. R. Civ. P.

4(d)(1). But Plaintiff never requested waiver of service, and the waiver rule therefore does not apply.

        Counsel’s appearance on behalf of Defendant confirms that Defendant is aware of service

attempts and has been dodging service since Plaintiff began attempting service on September 7. Now
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Defendant brazenly asks the Court to bless its service-dodging and grant—without any justification—

sixty days to respond!

       Plaintiff proposes the following as a resolution that would be fair and acceptable to Plaintiff:

              Defendant’s response to Plaintiff’s Complaint is due October 28, 2019—21 days after

               Defendant filed is Opposition. Fed. R. Civ. P. 12(a)(1)(A)(i).

              Defendant pays Plaintiff’s costs and attorney fees for all efforts to effect service,

               including its Motion to Recognize Service.

       DATED this 8th day of October, 2019.

                                                 STRONG & HANNI

                                                  /s/Joseph Shapiro
                                                 _____________________________
                                                 Joseph Shapiro
                                                 Attorneys for Plaintiff Tatuyou, LLC




                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 8, 2019, the foregoing document was served on all counsel
of record via the Court’s CM/ECF electronic filing system.

                                                 /s/ Joseph Shapiro
                                                 Joseph Shapiro




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